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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-2058

   v.                                                      Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                  48                                    fabledseller


DATED: July 10, 2019                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
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                                                     Oak Park, Illinois 60302
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                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-02058 Document #: 48 Filed: 07/10/19 Page 2 of 2 PageID #:506




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 10, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
